Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 1 of 29 PageID: 102




                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

  JASMINE MHREZ,

        Plaintiff,

  v.                                                  Case No. 2:22-cv-02152

  RADIUS GLOBAL SOLUTIONS, LLC,                        Judge Kevin McNulty

        Defendant.

       REPLY IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS


                                   Respectfully submitted,

                                   /s/ Aaron R. Easley
                                   Aaron R. Easley, Esq.
                                   Sessions, Israel & Shartle, LLC
                                   3 Cross Creek Drive
                                   Flemington, NJ 08822-4938
                                   Telephone No.: (908) 237-1660
                                   Facsimile No.: (877) 334-0661
                                   Email: aeasley@sessions.legal
                                   Attorneys for Defendant,
                                   Radius Global Solutions, LLC




                                     1
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 2 of 29 PageID: 103




                                                  TABLE OF CONTENTS


TABLE OF AUTHORITIES .......................................................................................................... 3
I. INTRODUCTION ..................................................................................................................... 6
II. LAW AND ARGUMENT ........................................................................................................ 8
   A. The FDCPA As A Whole Envisions The Use Of Service Providers, Like RGS’s Letter
      Vendor.................................................................................................................................. 8
   B. Section 1692c(b) Is Concerned With Individual Privacy Only Insofar As It Implicates
      Actual Harm To A Consumer’s Reputation....................................................................... 10
   C. The FTC and CFPB Have Approved Of The Use Of Letter Vendors ............................... 14
   D. Plaintiff’s Interpretation Of § 1692c(b) Would Lead To Absurd Results By Banning
      Communications With Persons Critical To The Debt Collection Process ........................ 16
   E. Even Read Alone And In Isolation, § 1692c(b) Does Not Prohibit The Use Of Letter
      Vendors .............................................................................................................................. 17
       1.       A Letter Vendor Is Not A “Third-Party” For Purposes Of § 1692c(b) ...................... 18
       2.    RGS’s Transmitting Data To Its Letter Vendor Is Not a “Communication” Under The
       FDCPA Because The Letter Vendor Was A “Medium” Through Which The Ultimate
       Communication, i.e., The Letter, Was Sent, And Plaintiff Does Not Allege Any Human
       Being Saw The Data ............................................................................................................. 22
       3.   The Mere Transmission Of Data To A Letter Vendor Does Not Qualify As “In
       Connection With The Collection Of A Debt” Because It Is A Separate Communication
       From The Letter That Is Ultimately Sent .............................................................................. 24
       4.  Section § 1692c(b), As Applied To Letter Vendors, Is An Overbroad Restriction on
       Commercial Speech .............................................................................................................. 27
III. CONCLUSION ...................................................................................................................... 29
CERTIFICATE OF SERVICE ..................................................................................................... 29




                                                                      2
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 3 of 29 PageID: 104




                                          TABLE OF AUTHORITIES

                                                                                                                      Page(s)
Cases

Almendarez-Torres v. United States,
  523 U.S. 224 (1998) ....................................................................................................... 18
Barbato v. Greystone All., LLC,
  916 F.3d 260 (3d Cir. 2019) ........................................................................................... 18
Barclift v. Keystone Credit Servs.,
  2022 WL 444267 (E.D. Pa. Feb. 14, 2022) ................................................................ 9, 12
Bob Jones Univ. v. United States,
  461 U.S. 574 (1983) ....................................................................................................... 10
Cavazzini v. MRS Assocs.,
  2021 WL 5770273 (E.D.N.Y. Dec. 6, 2021)............................................................ 12, 14
Central Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of New York,
  447 U.S. 557 (1980) ....................................................................................................... 27
Chickasaw Nation v. United States,
  534 U.S. 84 (2001) ......................................................................................................... 20
Ciccone v. Cavalry Portfolio Servs., LLC,
  2021 WL 5591725 (E.D.N.Y. Nov. 29, 2021) ................................................................. 9
Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media,
  140 S. Ct. 1009 (2020) ............................................................................................. 13, 18
Doe v. U.S. Immigr. & Customs,
  490 F. Supp. 3d 672 (S.D.N.Y. 2020) ............................................................................ 18
Douglass v. Radius Global Solutions, LLC,
  765 F.3d 299 (3d Cir. 2014) ........................................................................................... 11
FDA v. Brown & Williamson Tobacco Corp.,
  529 U.S. 120 (2000) ......................................................................................................... 8
Grand Light & Supply Co. v. Honeywell, Inc.,
  771 F.2d 672 (2d Cir.1985) ............................................................................................ 10
Gregory v. Nationstar Mortg., LLC,
  2014 WL 1875167 (D.N.J. May 9, 2014) ...................................................................... 24
Hall v. Sargeant,
  2019 WL 1359485 (S.D. Fla. Mar. 26, 2019) ................................................................ 23
Hardt v. Reliance Standard Life Ins. Co.,
  560 U.S. 242 (2010) ......................................................................................................... 8
Hunstein v. Preferred Collection & Mgmt. Servs., Inc.,
  2019 WL 5578878 (M.D. Fla. Oct. 29, 2019) ............................................................ 7, 26
Hunstein v. Preferred Collection & Mgmt. Servs., Inc.,
  17 F.4th 1016 (11th Cir. 2021) ............................................................................. 9, 24, 25
I.N.S. v. St. Cyr,
  533 U.S. 289 (2001) ....................................................................................................... 27

                                                               3
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 4 of 29 PageID: 105




Isaac v. NRA Grp., LLC,
  377 F. Supp. 3d 211 (E.D.N.Y. 2019) ...................................................................... 16, 17
Khimmat v. Weltman, Weinberg & Reis Co., LPA,
  2022 WL 356561 (E.D. Pa. Feb. 7, 2022) ...............................................................Passim
King v. Burwell,
  135 S. Ct. 2480 (2015) ..................................................................................................... 8
Machleder v. Diaz,
  801 F.2d 46 (2d Cir. 1986) ............................................................................................. 13
Marx v. Gen. Revenue Corp.,
  568 U.S. 371 (2013) ....................................................................................................... 20
Moskal v. United States,
  498 U.S. 103 (1990) ....................................................................................................... 13
NLRB v. SW Gen., Inc.,
  137 S. Ct. 929 (2017) ..................................................................................................... 20
Nyanjom v. NPAS Solutions, LLC,
  2022 WL 168222 (D. Kan. Jan. 19, 2022) ............................................................... 12, 22
Pitts v. Bayview Loan Servicing, LLC,
  2017 WL 2311664 (D.N.J. 2017) ................................................................................... 25
Pub. Citizen v. U.S. Dep’t of Just.,
  491 U.S. 440 (1989) ................................................................................................... 8, 10
Quaglia v. NS193, LLC,
  2021 WL 7179621 (N.D. Ill. Oct. 12, 2021) ............................................................ 12, 22
Robinson v. Shell Oil Co.,
  519 U.S. 337 (1997) ......................................................................................................... 8
Ross v. Hotel Emps. & Rest. Emps. Int’l Union,
  266 F.3d 236 (3d Cir. 2001) ........................................................................................... 10
Simon v. FIA Card Servs., N.A.
  732 F.3d 259 (3d Cir. 2013) ........................................................................................... 26
Sputz v. Alltran Fin., LP,
  2021 WL 5772033 (S.D.N.Y. Dec. 5, 2021) .................................................................. 22
TransUnion v. Ramirez,
  141 S.Ct. 2190 ................................................................................................................ 22
Travers v. Fed. Express Corp.,
  8 F.4th 198 (3d Cir. 2021) .............................................................................................. 20
United States v. Bert,
  292 F.3d 649 (9th Cir. 2002) .......................................................................................... 20
United States v. Texas,
  507 U.S. 529 (1993) ....................................................................................................... 18
Viacom Int’l, Inc. v. FCC,
  672 F.2d 1034 (2d Cir.1982) ............................................................................................ 8
Vilinsky v. Phelan Hallinan & Diamond, P.C.,
  2015 WL 3767494 (D.N.J. 2015) ................................................................................... 25


                                                                 4
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 5 of 29 PageID: 106




Statutes

15 U.S.C. § 1692c(b) ..................................................................................................Passim
15 U.S.C. § 1692e .............................................................................................................. 13
15 U.S.C. § 1692i .............................................................................................................. 16
15 U.S.C. §§ 1692b(5) ......................................................................................................... 9
15 U.S.C. § 1692c(a)(2)..................................................................................................... 22

Rules

Federal Rule of Civil Procedure 12(b)(6) ............................................................................ 6

Regulations

12 C.F.R. § 1006.1 ............................................................................................................. 15
16 C.F.R. § 314.4(d)(1)-(2) ......................................................................................... 19, 23
Debt Collection Practices (Regulation F),
  86 Fed. Reg. 5766-01 (Jan. 19, 2021) ............................................................................ 15
Statements of General Policy or Interpretation Staff Commentary on the FDCPA,
  53 Fed. Reg. 50,097 ........................................................................................................ 14

Other Authorities

2A C.J.S. Agency § 1 ........................................................................................................ 18
Restatement (Second) of Agency § 186 (Am. Law Inst. 1958) ........................................ 18
Restatement (Second) of Torts § 652D (Am. Law Inst. 1977) ......................................... 14
Restatement (Third) of Agency § 1.01 (Am. Law. Inst. 2006) ......................................... 19
S. Rep. No. 95–382 ...................................................................................................... 11, 12




                                                                5
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 6 of 29 PageID: 107




                                   I. INTRODUCTION

       Defendant, Radius Global Solutions, LLC (“RGS”), pursuant to Federal Rule of

Civil Procedure 12(b)(6), respectfully submits this Reply in Support of its Motion to

Dismiss (“the Motion”), which seeks dismissal of the claim asserted by Plaintiff, Jasmine

Mhrez (“Plaintiff”).

       Resolving this Motion requires an exercise in statutory construction, which, in turn,

requires the Court to divine Congress’s intent. Plaintiff asserts that in passing the Fair Debt

Collection Practices Act (FDCPA), Congress intended to prohibit debt collectors from

using letter vendors to undertake the rote task of printing and sending a collection letter.

Plaintiff’s theory is based exclusively on § 1692c(b) of the statute, which states:

              Communication with third parties

              Except as provided in section 1692b of this title, without the
              prior consent of the consumer given directly to the debt
              collector, or the express permission of a court of competent
              jurisdiction, or as reasonably necessary to effectuate a
              postjudgment judicial remedy, a debt collector may not
              communicate, in connection with the collection of any debt,
              with any person other than the consumer, his attorney, a
              consumer reporting agency if otherwise permitted by law, the
              creditor, the attorney of the creditor, or the attorney of the debt
              collector.

15 U.S.C. § 1692c(b) (bold in original).

       RGS’s Motion acknowledges that, read literally and in isolation, § 1692c(b)

arguably prohibits a debt collector from sending information to a service provider, like a

letter vendor. However, a review of the statute as a whole and its history confirms this was

not Congress’s intent. Several additional FDCPA provisions permit the use of service


                                              6
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 7 of 29 PageID: 108




providers, even though communicating with these entities would violate § 1692c(b) under

Plaintiff’s proposed reading. The legislative history indicates Congress was chiefly

concerned with debt collectors disclosing a consumer’s indebtedness to her friends, family,

neighbors, or employers, i.e., disclosures that threaten a consumer with real harm, like

damage to her reputation or loss of employment. Nothing in the FDCPA, nor its legislative

history, suggests Congress intended for § 1692c(b) to curb the use of “service providers,”

like letter vendors. Moreover, the FDCPA incorporates common law agency principles,

under which communications with one’s letter vendor “agent” are not “third-party”

communications. Finally, the statute distinguishes between the “mediums” of

communication—here, RGS’s letter vendor—from the ultimate recipient of the

communication—here, Plaintiff.

       Plaintiff’s Opposition cites extensively to two decisions, neither of which are

binding on this court. Plaintiff cites Khimmat v. Weltman, Weinberg & Reis Co., LPA, 2022

WL 356561 (E.D. Pa. Feb. 7, 2022), which suffers from numerous flaws that are addressed

below. Also, Plaintiff relies on the Eleventh Circuit’s vacated opinions in “Hunstein I” and

“Hunstein II.” These decisions were set aside to allow for en banc review. Thus, the

operative decision is the district court’s decision finding no violation. See Hunstein v.

Preferred Collection & Mgmt. Servs., Inc., 2019 WL 5578878 (M.D. Fla. Oct. 29, 2019),

rev’d and remanded, 994 F.3d 1341 (11th Cir. 2021), opinion vacated and superseded on

reh’g, 17 F.4th 1016 (11th Cir. 2021), reh’g en banc granted, opinion vacated, 17 F.4th

1103 (11th Cir. 2021).

       For these reasons and as further explained below, the Court should conclude RGS

                                             7
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 8 of 29 PageID: 109




did not violate the FDCPA by using its letter vendor, grant this Motion, and dismiss the

Complaint.

                               II. LAW AND ARGUMENT

   A. The FDCPA As A Whole Envisions The Use Of Service Providers, Like RGS’s
      Letter Vendor

       Generally speaking, when the language of a statue is “plain,” courts apply the

“plain” language. Hardt v. Reliance Standard Life Ins. Co., 560 U.S. 242, 251

(2010). However, whether statutory language is “plain” depends on “the specific context

in which that language is used, and the broader context of the statute as a whole.” Robinson

v. Shell Oil Co., 519 U.S. 337, 341 (1997). This is so, because “oftentimes the ‘meaning—

or ambiguity—of certain words or phrases may only become evident when placed in

context.’” King v. Burwell, 135 S. Ct. 2480, 2483 (2015) (quoting FDA v. Brown &

Williamson Tobacco Corp., 529 U.S. 120, 132 (2000)); see also Pub. Citizen v. U.S. Dep’t

of Just., 491 U.S. 440, 455 (1989) (“When aid to construction of the meaning of words, as

used in the statute, is available, there certainly can be no ‘rule of law’ which forbids its use,

however clear the words may appear on superficial examination.”) (internal quotations

omitted).

       A particular word or phrase must not be read in isolation; a federal court’s “duty,

after all, is to construe statutes, not isolated provisions.” King, 135 S. Ct. at 2488; see also

Viacom Int’l, Inc. v. FCC, 672 F.2d 1034, 1039 (2d Cir.1982) (“the surest way to

misinterpret a statute or a rule is to follow its literal language without reference to its

purpose”).


                                               8
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 9 of 29 PageID: 110




       Considering § 1692c(b) in the context of the FDCPA as a whole demonstrates that

Congress did not intend to prohibit the use of service providers, like letter vendors. On the

contrary, the FDCPA envisions the use of a variety of service providers to communicate

with consumers, e.g., telegram operators (see 15 U.S.C. §§ 1692b(5); 1692f(5); 1692f(8)),

telephone service providers (see §§ 1692f(5); 1692d(5)), and mail carriers (see

§§ 1692b(5); 1692g(a)(4)(b)).

       The FDCPA’s authorizing the use of telegram operators is particularly telling. To

send a telegram, a debt collector must transmit the information to be included in the

telegram to the telegram operator. See Hunstein, 17 F.4th at 1045-46 (noting that § 1692f(5)

“presupposes that debt collectors could use telegrams, even though that means the contents

of the telegram would be transmitted through a telegram operator”) (Tjoflat, J., dissenting).

Yet under Plaintiff’s reading of § 1692c(b), the act of transmitting information to a

telegram operator would violate the FDCPA, making the telegram provisions

unintelligible or mere surplusage.

       For this reason, numerous courts have concluded that reading the FDCPA to prohibit

the use of service providers, like letter vendors, is contrary to Congress’s intent. See

Ciccone v. Cavalry Portfolio Servs., LLC, 2021 WL 5591725, *5 (E.D.N.Y. Nov. 29, 2021)

(concluding that Congress’s inclusion of “specific provisions of the FDCPA [which]

condone the use of intermediaries to communicate with debtors” suggests § 1692c(b) does

not prohibit communications with letter vendors); see also Barclift v. Keystone Credit

Servs., Inc., 2022 WL 444267, at *9 (E.D. Pa. Feb. 14, 2022) (noting same). The only way

to square § 1692c(b) with these other provisions is to conclude that Congress did not intend

                                             9
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 10 of 29 PageID: 111




§ 1692c(b) to prohibit the use of service providers.

       The Opposition fails to address these FDCPA provisions which endorse the use of

service providers. Considered within the context of the FDCPA as whole, § 1692c(b)

cannot be reasonably interpreted to prohibit debt collectors from using letter vendors.

   B. Section 1692c(b) Is Concerned With Individual Privacy Only Insofar As It
      Implicates Actual Harm To A Consumer’s Reputation

       The polestar in any case turning on statutory interpretation is Congress’s intent. Ross

v. Hotel Emps. & Rest. Emps. Int’l Union, 266 F.3d 236, 245 (3d Cir. 2001). Even if the

language of a statute is “plain,” courts decline to apply the “plain” meaning where it is

either at odds with Congress’s intent or would lead to absurd results. See Grand Light &

Supply Co. v. Honeywell, Inc., 771 F.2d 672, 677 (2d Cir.1985) (“[w]here the result of a

literal interpretation of statutory language is absurd, or where the obvious purpose of the

statute is thwarted by slavish adherence to its terms, we may look beyond the plain

language”) (citation omitted); Bob Jones Univ. v. United States, 461 U.S. 574, 586 (1983)

(“[i]t is a well-established canon of statutory construction that a court should go beyond

the literal language of a statute if reliance on that language would defeat the plain purpose

of the statute”). see also Pub. Citizen, 491 U.S. at 455 (“Looking beyond the naked text for

guidance is perfectly proper when the result it apparently decrees . . . seems inconsistent

with Congress’ intention, since the plain-meaning rule is ‘rather an axiom of experience

than a rule of law, and does not preclude consideration of persuasive evidence if it

exists.’”).

       When applying the “plain” language of the statute conflicts with Congressional


                                             10
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 11 of 29 PageID: 112




intent or would produce absurd results, courts decline to apply the literal interpretation and

presume “the legislature intended exceptions to its language [that] would avoid results of

this character.” Douglass v. Radius Global Solutions, LLC, 765 F.3d 299, 302 (3d Cir.

2014). To determine whether a literal interpretation of a statute would be contrary to

Congress’s intent, courts invariably look to the legislative history.

       The Senate Report sets forth the FDCPA’s intended scope, namely, prohibiting

“obscene or profane language, threats of violence, telephone calls at unreasonable hours,

misrepresentation of a consumer’s legal rights, disclosing a consumer’s personal affairs

to friends, neighbors, or an employer, obtaining information about a consumer through

false pretense, impersonating public officials and attorneys, and simulating legal process.”

S. Rep. No. 95–382, at 2 (1977) (emphasis added). The Senate Report goes on to state:

       “[T]his legislation adopts an extremely important protection . . .: it prohibits
       disclosing the consumer’s personal affairs to third persons. Other than to
       obtain location information a debt collector may not contact third persons
       such as a consumer’s friends, neighbors, relatives, or employer. Such
       contacts are not legitimate collection practices and result in serious invasions
       of privacy, as well as loss of jobs.”

Id. at 4 (emphasis added).

       Disclosing a debt to individuals who know the consumer (friends, family, neighbors,

employers, etc.) threatens the consumer with real harm (damage to reputation, loss of

employment, etc.). By contrast, the mere transmission of data to a letter vendor, without

more, results in no articulable harm, and Plaintiff alleges none.

       Courts have repeatedly relied on the Senate Report in concluding that Congress

did not intend § 1692c(b) to prohibit the use of service providers, like letter vendors. See,


                                             11
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 12 of 29 PageID: 113




e.g., Barclift, 2022 WL 444267, at *9 (noting Congress’s intent to prevent disclosures to

those for whom the consumer’s reputation matters, not to companies hired to perform tasks

like printing and sending a letter); Quaglia v. NS193, LLC, 2021 WL 7179621, *3 (N.D.

Ill. Oct. 12, 2021) (same); Cavazzini v. MRS Assocs., 2021 WL 5770273, *6 (E.D.N.Y.

Dec. 6, 2021) (same); Nyanjom v. NPAS Solutions, LLC, 2022 WL 168222, *5 (D. Kan.

Jan. 19, 2022) (same).

       In opposition, Plaintiff quotes the FDCPA’s precatory language, which refers to

“invasions of individual privacy,” and argues RGS’s transmittal to a letter vendor

constitutes such an “invasion.” See Opposition, at p. 9-10; see Khimmat, 2022 WL 356561,

at *5. The context of the Senate Report’s single reference to “invasions of privacy” exposes

the flaw in Plaintiff’s argument.

       The Senate Report refers only once to “invasions of privacy.” See S. Rep. 95-382,

at 1699. Specifically, the report states: “Other than to obtain location information, a debt

collector may not contact third persons such as a consumer’s friends, neighbors, relatives,

or employer. Such contacts are not legitimate collection practices and result in serious

invasions of privacy, as well as the loss of jobs.” To be clear: the Senate Report’s only

reference to “invasions of privacy” appears as secondary and contingent to the prohibition

against disclosures to friends, neighbors, relatives and employers. Nothing in the Senate

Report—nor the FDCPA’s precatory language—suggests Congress sought to prohibit a

company’s use of service provider, like letter vendors.

       Further, Plaintiff’s interpretation of § 1692c(b) runs contrary to the common law

meaning of “invasion of privacy.” Congress is presumed to legislate against the backdrop

                                            12
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 13 of 29 PageID: 114




of the common law, Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media, 140 S.

Ct. 1009, 1016 (2020), and when Congress uses a common law phrase in a statute, the

phrase is presumed to have the same meaning as under the common law. Moskal v. United

States, 498 U.S. 103, 117 (1990). The common law recognizes four types of “invasion of

privacy” torts: (1) “unreasonable publication of private facts;” (2) defamation; (3)

“intrusion upon seclusion;” and (4) “appropriation of name or likeness.” Machleder v.

Diaz, 801 F.2d 46, 52 (2d Cir. 1986).

       Aside from “appropriation of name or likeness,” the FDCPA prohibits conduct

involving each type “invasion of privacy.”1 Thus, the Court need not stretch the term

“invasion of privacy” beyond its common law meaning to give the term effect.

       Critically, courts have repeatedly concluded that transmitting information to a letter

vendor is not akin to an “invasion of privacy” by “unreasonable publication of private

facts.” An “unreasonable publication of private facts” occurs where: (1) the defendant

“publicizes” facts about the plaintiff, i.e., where the defendant disseminates information to

the “public at large” or in a way that it is “substantially certain to become public

knowledge”; (2) the published facts are private facts, i.e., they relate to intimate details of

one’s life, like sexual relations and family quarrels; (3) the subject matter is not of




1
  For example, the FDCPA prohibits “defamation” through the provision prohibiting “false”
statements about a debtor or a debt. See 15 U.S.C. § 1692e. The statute also prohibits “intrusions
upon seclusion,” like placing excessive calls to the consumer, § 1692d(5); calling at times known
to be inconvenient to the consumer, § 1692c(a)(1); contacting the consumer after being notified he
or she is represented by counsel, § 1692c(a)(2); contacting the consumer at the consumer’s place
of business, § 1692c(a)(2); and continuing to contact a consumer after the consumer has asked not
to be contacted, § 1692c(c).
                                               13
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 14 of 29 PageID: 115




legitimate public concern; and (4) the publication would be highly offensive to a reasonable

person. See Cavazzini, 2021 WL 5770273, at *5; Restatement (Second) of Torts § 652D

(Am. Law Inst. 1977)).

       Transmitting to a letter vendor data—which no human being actually saw—does

not rise to the level of “publication” and is certainly not “highly offensive to a reasonable

person.” See Cavazzini, 2021 WL 5770273, at *4 (collecting cases and explaining that

transmitting information to a letter vendor is not analogous to a public disclosure of private

facts). The Khimmat decision did not even consider the common law meaning of “invasion

of privacy,” and the Court should refrain from following it.

       In sum, the legislative history confirms that Congress intended § 1692c(b) to

prohibit disclosures which threaten to harm the consumer’s reputation. The mere act of

transmitting data to a letter vendor, without more, threatens no such harm, and Plaintiff’s

claim should be dismissed.

   C. The FTC and CFPB Have Approved Of The Use Of Letter Vendors

       As explained in the Motion, Congress tasked the Federal Trade Commission

(“FTC”) and Consumer Financial Protection Bureau (“CFPB”) with interpreting and

enforcing the FDCPA. In the 40+ years since the FDCPA was passed, the FTC and CFPB

have repeatedly approved of the use of service providers, like letter vendors.

       For example, the FTC’s staff commentary states that a debt collector’s “agent” may

provide the disclosures required by the FDCPA and that “[a] debt collector may contact an

employee of a telephone or telegraph company in order to contact the consumer, without

violating the prohibition on communication to third parties.” Statements of General Policy

                                             14
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 15 of 29 PageID: 116




or Interpretation Staff Commentary on the FDCPA, 53 Fed. Reg. 50,097-02, 50,104 (Dec.

13, 1988). The CFPB, in its 2020 omnibus rulemaking, noted that 85% of debt collectors

used letter vendors. Debt Collection Practices (Regulation F), 86 Fed. Reg. 5766-01, n.446

(Jan. 19, 2021) (codified at 12 C.F.R. § 1006.1, et seq). Rather than express concern over

the widespread use of letter vendors, the CFPB authorized debt collectors to designate a

letter vendor’s address for consumer disputes and inquires. Id., at 5818.

       Plaintiff argues the FTC and CFPB guidance documents should be disregarded

because: (1) they are not legally binding for purposes of judicial deference, and (2) they do

not explicitly state that the use of a letter vendor is permissible under § 1692c(b). See

Opposition, at p. 12-13. Plaintiff misinterprets the import of the guidance documents and

reads them too narrowly.

       RGS is not arguing that the FTC and CFPB’s guidance is binding on the Court, such

that the Court must apply the judicial deference doctrines. The Court must construe the

FDCPA and reach its own decision. However, as the entities that have overseen the FDCPA

since its passage, the FTC and CFPB’s guidance is, at the very least, persuasive about the

meaning of § 1692c(b).

       And while the FTC and CFPB’s guidance does not explicitly declare that a debt

collector may communicate with service providers, like letter vendors, under § 1692c(b),

the reasoning underlying the guidance implies as much. The FTC Staff Commentary

authorizes communicating with a consumer through “agents,” even though transmitting the

information to be communicated by the agent, as a threshold matter, would violate

§ 1692c(b) under Plaintiff’s reading. Further, letter vendors exist for the purpose of printing

                                              15
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 16 of 29 PageID: 117




and sending letters—that is what they do—and the CFPB’s guidance documents plainly

envision the use of letter vendors. It would be illogical to permit a debt collector to use a

letter vendor while prohibiting the transmission of data necessary to print the letters.

   D. Plaintiff’s Interpretation Of § 1692c(b) Would Lead To Absurd Results By
      Banning Communications With Persons Critical To The Debt Collection
      Process

       According to Plaintiff, § 1692c(b) prohibits a debt collector from communicating

about a debt with anyone except the consumer, the creditor, their attorneys, and consumer

reporting agencies—full stop; no exceptions. This cannot be what Congress intended

because it would lead to patently absurd results.

       Nothing in § 1692c(b) (or the FDCPA as a whole) carves out an explicit exception

for the courts or their staff. Thus, any communications with the courts would violate the

FDCPA under Plaintiff’s interpretation. This is obviously not what Congress intended,

because, inter alia, the statute envisions the filing of collection suits. See 15 U.S.C. § 1692i.

Further, Plaintiff’s reading of § 1692c(b) would prohibit a debt collector from

communicating with its employees. RGS, like the vast majority of debt collectors, is a

juridical entity and necessarily requires the services of others to operate. At the same time,

courts have held that debt collector companies are separate from the employees and officers

who act on their behalf. See, e.g., Isaac v. NRA Grp., LLC, 377 F. Supp. 3d 211, 216

(E.D.N.Y. 2019) (collecting cases and holding that debt collector and their officers and

employees may be held individually liable under the FDCPA), aff’d, 798 F. App’x 693 (2d

Cir. 2020). Yet nothing in § 1692c(b) explicitly permits a “debt collector” to communicate

with its employees and officers.

                                               16
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 17 of 29 PageID: 118




       Plaintiff agrees that a construction of § 1692c(b) which would prohibit a debt

collector from communicating with its agents would constitute an absurd result. See

Opposition, at p. 15 (calling “preposterous” the construction of § 1692c(b) which would

bar a debt collector’s communications with employees “agents”).2 In an effort to side-step

this reality, Plaintiff argues the Court should disregard this absurd result because she is not

complaining about communications with an employee or about a debt collector using the

telephone or the internet. This is a red herring. The fact is, this absurd result demonstrates

that § 1692c(b) is not as “plain” as Plaintiff lets on and that the Court should consider the

full statutory text, legislative history, and administrative guidance to determine what

Congress truly intended to accomplish with § 1692c(b). All of these sources contradict

Plaintiff’s reading.

    E. Even Read Alone And In Isolation, § 1692c(b) Does Not Prohibit The Use Of
       Letter Vendors

       Plaintiff’s theory that Congress sought to prohibit the use of service providers, like

letter vendors, through § 1692c(b) is belied by the statutory language as a whole, legislative

history, and guidance from the federal agencies tasked with interpreting and implementing

the statute. On top of that, two terms in § 1692c(b), itself, undermine Plaintiff’s theory: the

terms “third-parties” and “communication” “in connection with the collection of a debt.”

Each term militates against Plaintiff’s theory, and at the very least, they indicate § 1692c(b)



2
  It bears noting that, contrary to Plaintiff’s contention, plaintiffs do sue both debt collectors and
their employees, officers, etc., with unfortunate regularity. See Isaac, 377 F. Supp. 3d at 212
(collecting cases and noting that an employee or officer may be held liable if he or she took an
“affirmative action with respect to debt collection, such as where the individual defendant made
repeated phone calls to the plaintiff”).
                                                 17
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 18 of 29 PageID: 119




is not as plain as Plaintiff argues.

       1. A Letter Vendor Is Not A “Third-Party” For Purposes Of § 1692c(b)

       The heading for § 1692c(b) reads: “Communications with third-parties.” (emphasis

added). See also Almendarez-Torres v. United States, 523 U.S. 224, 234 (1998) (noting

that headings are part of the statutory text and may be considered to resolve doubt about

Congress’s intent). As noted above, the vast majority of debt collectors, including RGS,

are juridical entities which can only act through hired persons. And under long-standing

common law agency principles, a principal is deemed to have done itself what it does

through an agent, such that communications with one’s “agent” are not “third-party”

communications. 2A C.J.S. Agency § 1; Restatement (Second) of Agency § 186 (Am. Law

Inst. 1958).

       Why does the common law matter? Congress does not “write upon a clean slate”

each time it passes a statute. Doe v. U.S. Immigr. & Customs Enf’t, 490 F. Supp. 3d 672,

692 (S.D.N.Y. 2020). Rather, Congress is presumed to legislate against the backdrop of

the common law, and federal statutes are presumed to incorporate common law principles.

Comcast, 140 S. Ct. at 1016. Thus, statutes “are to be read with a presumption favoring the

retention of long-established and familiar principles, except when a statutory purpose to

the contrary is evident.” United States v. Texas, 507 U.S. 529, 534 (1993).

       Courts have uniformly held that the FDCPA incorporates common law agency

principles and relied on these principles in interpreting the statute. See, e.g., Barbato v.

Greystone All., LLC, 916 F.3d 260, 269 (3d Cir. 2019). Under these principles, RGS’s

transmitting data to its letter vendor to undertake the rote task of printing and sending a

                                            18
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 19 of 29 PageID: 120




collection letter simply is not a “third-party” communication and is, therefore, not covered

by § 1692c(b). To conclude otherwise requires some indication in the statute that Congress

intended communications with a hired agent to be considered “third-party”

communications. Yet all of the relevant authority goes the other way.

       In opposition, Plaintiff argues RGS has not submitted any proof it exerts sufficient

“control” over its letter vendor to establish an agency relation. See Opposition, at p. 11. A

principal-agent relationship exists where: (1) the purported “agent” acts on the purported

principal’s behalf; and (2) where the principal exercises the right of control over the

“agent’s” conduct. Restatement (Third) of Agency § 1.01 (Am. Law. Inst. 2006).

Commonsense dictates that RGS’s letter vendor was acting on RGS’s behalf when it

printed and sent Plaintiff the relevant letter. After all, the letter is on RGS’s letterhead.

       As for the level of control: RGS is legally required to exercise control over its letter

vendor. Under the FTC’s Safeguard Rule, debt collectors are required, by law, to: (1) vet

their service providers to ensure they are capable of safeguarding consumer information;

(2) ensure that their service providers implement appropriate safeguards to protect

consumer information; and (3) oversee their service providers to ensure continued

maintenance of the required safeguards. 16 C.F.R. § 314.4(d)(1)-(2).3

       Plaintiff’s second argument against the vendor’s agent status refers to the expressio

unius canon of statutory construction. See Khimmat, 2022 WL 356561, at *4. Under this



3
  Plaintiff’s attempt to compare RGS’s transmittal of information to communicating with a
consumer’s roommate is a strawman: in contrast to its letter vendor, a debt collector has no control
over a consumer’s roommate. See Opposition, at p. 11.
                                                19
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 20 of 29 PageID: 121




canon, when Congress states a rule and provides exceptions, Congress is presumed to reject

any unnamed exceptions by “negative implication.” See Marx v. Gen. Revenue Corp., 568

U.S. 371, 381 (2013). Plaintiff argues that, because § 1692c(b) specifically names

attorneys—who are agents—Congress must have intended § 1692c(b) to prohibit

communications with any other kind of agent.

       Plaintiff applies the expressio unius canon far too rigidly so as to trump the statutory

text as a whole, legislative history, and all other canons of statutory construction. However,

the canons are simply guides to divining Congress’s intent, not hard and fast rules, and a

particular canon should be applied only where it is reasonable to presume it reflects

legislative intent. United States v. Bert, 292 F.3d 649, 652 (9th Cir. 2002) (citing

Chickasaw Nation v. United States, 534 U.S. 84, 91 (2001)).

       “The force of any negative implication depends on context.” Marx, 568 U.S. at 381.

The expressio unius canon is particularly problematic because it presupposes Congress’s

silence as telling of its intent, even though that may not be the case. Hence, the canon

“requires particularly careful application and ‘applies only when circumstances support a

sensible inference that the term left out must have been meant to be excluded.’” Travers v.

Fed. Express Corp., 8 F.4th 198, 206 (3d Cir. 2021) (quoting NLRB v. SW Gen., Inc., 137

S. Ct. 929, 940 (2017)). See also Marx, 568 U.S. at 381 (“We have long held that the

expressio unius canon does not apply unless it is fair to suppose that Congress considered

the unnamed possibility and meant to say no to it.”).

       Nothing in the statutory text nor the legislative history of the FDCPA suggests that

Congress was concerned about the use of service providers, generally, or letter vendors,

                                              20
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 21 of 29 PageID: 122




specifically, much less sought to prohibit their use through § 1692c(b). Further, nothing in

the statutory text nor the legislative history suggest Congress sought to abrogate common

law agency principles, including the principle that communications with agents are not

“third-party” communications. To the contrary, the legislative history and the statute as a

whole suggest Congress did not intend to do so. Accordingly, the Khimmat court’s

concluding that Congress intended to prohibit the use of letter vendors by “negative

implication” goes too far and disregards too much.

       Section 1692c(b) can reasonably be read to apply only to communications with

those who qualify as “third-parties” under long-standing common law principles, such that

communications with an agent would be excluded. Under such a reading, Congress would

have no need to exempt communications with letter vendor-agents under § 1692c(b).

Reading § 1692c(b) in this way acknowledges the legislative history, the statute as a whole,

and the regulatory guidance and avoids the myriad absurd results inherent in Plaintiff’s

reading of § 1692c(b). And under such a reading, Congress’s exempting attorneys from

§ 1692c(b)’s coverage does not require the extraordinary logical leap that Congress

intended to prohibit the use of service providers across the board by “negative

implication.”

        In sum, Plaintiff’s reading of § 1692c(b) fails because it presumes Congress

intended to exclude agency principles from the FDCPA. Under these principles, RGS’s

transmitting data to its letter vendor is not a “third-party” communication, and Plaintiff’s

claim fails.



                                            21
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 22 of 29 PageID: 123




    2. RGS’s Transmitting Data To Its Letter Vendor Is Not a “Communication”
       Under The FDCPA Because The Letter Vendor Was A “Medium” Through
       Which The Ultimate Communication, i.e., The Letter, Was Sent, And Plaintiff
       Does Not Allege Any Human Being Saw The Data

       Section 1692c(b) applies only where the debt collector has “communicate[d]” with

a third-party about a debt. 15 U.S.C. § 1692c(b). The statute does not define the word

“communicate,” but does define the word “communication,” which is defined as the

“conveying of information regarding a debt directly or indirectly to any person through

any medium.” § 1692c(a)(2) (emphasis added).

       A letter vendor is best understood as a “medium” through which a “communication”

is sent. The letter vendor does nothing more than assimilate the information into a letter,

and then print and send the letter. As countless courts have recognized, this is done through

an automated process, such that no human being actually reads the information. Nyanjom,

2022 WL 168222, at *5 n.60 (quoting Quaglia, 2021 WL 7179621, at *3 and Sputz v.

Alltran Fin., LP, 2021 WL 5772033, at *6 (S.D.N.Y. Dec. 5, 2021)).

       Critically, Plaintiff does not allege that any human being at the letter vendor actually

saw the information which was assimilated into a letter, printed and sent via automated

process. It stretches commonsense to say that one has “communicated” information if no

human being actually sees the “communicated” information.4

       Plaintiff cites Khimmat, which concluded a debt collector’s letter vendor did not


4
  Even the court in Khimmat suggested that if no human being actually saw the plaintiff’s
information, dismissal would be proper. Khimmat, 2022 WL 356561, at *5 (citing TransUnion v.
Ramirez, 141 S.Ct. 2190, 2210, n. 6 (2021), in which the Supreme Court reasoned that if a
consumer reporting agency’s letter vendor merely processes information, but does not read it, the
consumer necessarily suffers no injury for purposes of the FDCPA’s sister statute, the Fair Credit
Reporting Act).
                                               22
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 23 of 29 PageID: 124




qualify as a “medium” because the term covers only the “mechanical means of

communication—a telephone, telegram, or, in more modern terms, email or file transfer.”

See Khimmat, 2022 WL 356561, at *3. Without explanation, the Khimmat court held that

including the person providing those “mechanical means” within the meaning of “medium”

would render § 1692c(b) “unintelligible.” Id.

       Khimmat failed to note that conveying information through a “medium” requires

sending the information to the service provider who maintains the “mechanical means of

communication,” whether it be a telegram operator, telephone company, internet provider,

or letter vendor. For example, when a person sends an email, the electronic data must arrive

at and pass through not one but two different email servers; at each location, the email is

susceptible of potentially being viewed by an individual with access. See e.g., Hall v.

Sargeant, 2019 WL 1359485, *1-2 (S.D. Fla. Mar. 26, 2019) (explaining functioning of

email for claim involving third party’s access to email account). Yet, Plaintiff agrees that

email constitutes a “medium” of communication under the FDCPA. See Opposition, at 15.

Hence, the attempt to distinguish “mechanical means of communication” from letter

vendors holds no water. See Khimmat, 2022 WL 356561, at *3.

       Khimmat was also rash in holding that letter vendors differ from modern “wire-

based, regulated utilities.” See id., at *6. Letter vendors are closely regulated by the FTC

Safeguard Rule, under which debt collectors must ensure their service providers implement

and maintain safeguards for consumer information. See 16 C.F.R. § 314.4(d)(1)-(2).

       Because RGS’s letter vendor closely resembles a “medium,” through which

communication occurs, and Plaintiff does not allege any human being actually saw her

                                            23
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 24 of 29 PageID: 125




information, the Court should conclude RGS’s transmission does not qualify as a

“communication” for purposes of § 1692c(b).5

       3. The Mere Transmission Of Data To A Letter Vendor Does Not Qualify As
          “In Connection With The Collection Of A Debt” Because It Is A Separate
          Communication From The Letter That Is Ultimately Sent

       Finally, § 1692c(b) only applies to those communications which are made “in

connection with the collection of any debt.” See 15 U.S.C. § 1692c(b). (For brevity, RGS

occasionally refers to the “in connection with the collection of any debt” element as,

simply, the “in connection” element.) The statute does not define the phrase, and courts

have taken varying positions on what it means.

       Some courts have construed the phrase as broadly as possible, concluding that a

communication is “in connection” if it has any relation to the debt being collected. See

Khimmat, 2022 WL 356561, at *4; Hunstein, 17 F.4th at 1034.

        However, the majority of courts, including this Court, have construed the phrase

more narrowly, focusing on factors like “the nature of the parties’ relationship, whether the

communication included a demand for payment, and the purpose and context of the

communications See Gregory v. Nationstar Mortg., LLC, 2014 WL 1875167 (D.N.J. May

9, 2014) (letter that simply provided required information about the debt was not “in



5
  One could argue that it is irrelevant whether a human being actually saw the data because the
letter vendor is a juridical “person” and RGS “conveyed” the data to the vendor. But this kind of
reasoning places form over substance. If no human being saw the data, and the letter vendor merely
processed the data to print and send a letter, the notion that the consumer is harmed is utter fantasy.
Further, any such reasoning only illustrates how unworkable Plaintiff’s theory is. Again, if a
company is a separate and distinct “person” from those it hires to undertake its work, then §
1692c(b) would prohibit a debt collector from communicating with its employees, because there
is no specific carve-out for employees. That simply cannot be what Congress intended.
                                                  24
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 25 of 29 PageID: 126




connection” because “[l]etter’s purpose was to convey information; its purpose was not to

induce payment”); Vilinsky v. Phelan Hallinan & Diamond, P.C., 2015 WL 3767494

(D.N.J. 2015); Pitts v. Bayview Loan Servicing, LLC, 2017 WL 2311664 (D.N.J. 2017).

       The Court, here, should again follow the majority, factor-based approach. Applying

this analysis, each factor militates in favor finding RGS’s transmission of data does not

satisfy the “in connection” requirement. As for “the relationship of the parties,” RGS’s

“communication” was not between a debt collector and a debtor—or even someone close

to the debtor, like a friend, neighbor, family member, or employer. It was between a debt

collector and another company hired to perform a specific task. The transmittal did not

include a “demand for payment” in the logical sense of the phrase—RGS was not

demanding payment from its letter vendor, as it might from a debtor. True, the letter that

the vendor ultimately printed and sent contained a demand for payment, but the letter and

the underlying data transmission are separate “communications” and should be analyzed

independently. Finally, the “purpose and context” of the transmission were simply the

sending of data to an intermediary for the ministerial task of printing and mailing a letter.

       In opposition, Plaintiff argues the court should reject the factor-based approach on

the basis of Hunstein and Khimmat. Plaintiff is wrong.

       The United States District Court for the Middle District of Florida took on this

precise issue in Hunstein. There, the court rejected the plaintiff’s argument that defendant’s

transmitting information to its letter vendor violated § 1692c(b). Following the factor-

based approach, the court noted that the plaintiff “conflate[d] two communications: (1)

Preferred’s transmission of information to CompuMail for the purpose of generating a

                                             25
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 26 of 29 PageID: 127




letter to Hunstein; and (2) the actual debt collection letter, that was allegedly transmitted

from CompuMail to Hunstein.” Hunstein, 2019 WL 5578878, at *3. The court concluded

that while the letter at issue was a “communication” “in connection” because it demanded

payment, the underlying transmission of data was not. Id. The District Court decision,

which remains operative following the vacatur of the panel decision, captures the majority

factor-based approach.

       The court in Khimmat also failed to acknowledge that the debt collector’s transmittal

of data to the vendor and the vendor’s mailing of the letter constituted two separate events.

Khimmat’s rejection of the factor-based analysis was also flawed for its misplaced reliance

on a Third Circuit case. Khimmat cited Simon v. FIA Card Servs., N.A. for the proposition

that a communication which makes a debt collection attempt “more likely to succeed”

satisfies the “in connection” element. See Khimmat, 2022 WL 356561, at *3-4 (quoting

732 F.3d 259, 266 (3d Cir. 2013)). However, Khimmat failed to consider the full context

in which the Third Circuit used the “more likely to succeed” language. In Simon, the letter

at issue was sent directly by the defendant to the plaintiff, and the letter was an unabashed

attempt to collect the debt. Simon, 732 F.3d 259 at 267. The “more likely to succeed”

language is dicta that was only part of Simon’s overall factor-based analysis. See id., at

266-67.6


6
  Further, it is a stretch to say that the transmission of data to the letter vendor, alone, made
collection RGS’s “attempts” “more likely to succeed.” The transmission of data, alone, did
nothing. It was only when the data was then assimilated into the letter and sent to plaintiff that a
collection “attempt” even took place. Thus, one could say the transmission made an “attempt”
more likely, but not that the transmission made the “attempt” more likely to succeed, in and of
itself.
                                                26
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 27 of 29 PageID: 128




       Here, the Court should employ the majority factor-based approach and conclude

RGS’s transmittal of data, which constituted a separate event from the actual mailing of

the letter, was not “in connection with the collection of any debt” for the purposes of

§ 1692c(b).

       4. Section § 1692c(b), As Applied To Letter Vendors, Is An Overbroad
          Restriction on Commercial Speech

       As explained in the Motion, Plaintiff’s reading of § 1692c(b) renders the provision

an overbroad restriction on commercial speech. A restriction on commercial speech

complies with the First Amendment only if: (1) the asserted governmental interest is

“substantial;” (2) the disputed regulation directly advances that governmental interest; and

(3) the regulation is no more extensive than necessary to serve that interest, taking into

account other alternatives. Central Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of

New York, 447 U.S. 557, 564-66 (1980). And where a provision is susceptible of multiple

interpretations, some of which raise constitutional concerns, and others that do not, courts

are to interpret the provision in a way that avoids constitutional concerns. See I.N.S. v. St.

Cyr, 533 U.S. 289, 299-300 (2001).

       Here, the government’s interest is protecting consumers from the embarrassment

and harm to reputation that comes from a consumer’s friends, family, neighbors,

employers, etc., being made aware of the consumer’s indebtedness. Reading § 1692c(b) to

prohibit the use of letter vendors does not advance this interest at all, let alone do so on a

narrowly tailored basis.

       In opposition, Plaintiff argues that reading § 1692c(b) to prohibit only


                                             27
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 28 of 29 PageID: 129




communications with those affecting a consumer’s reputation, like a friend or neighbor,

would be unworkable. In support, Plaintiff argues that it is impossible to define who

qualifies as a consumer’s “friend,” “neighbor,” or “relative.” See Opposition, at p. 17.

Plaintiff also argues that, according to RGS, placing a billboard in Times Square

announcing that a consumer owes a debt would comply with § 1692c(b) so long as the

consumer’s “friends,” “neighbors,” “relatives,” or “employer” did not see the billboard.

See id., at p. 18. Plaintiff misses the point entirely.

       RGS is not asking the Court to consider whether a disclosure to an acquaintance,

rather than a “friend,” qualifies, or how near one must live to qualify as a consumer’s

“neighbor,” such that the disclosure may be reasonably presumed to threaten the

consumer’s reputation. Nor is RGS asking the Court to conclude that a plaintiff must

actually prove reputational harm to recover under § 1692c(b). RGS’s argument is far

narrower.

       The facts, here, are that RGS transmitted data to its letter vendor to undertake the

rote task of printing and sending a collection letter, and Plaintiff does not allege any human

being at the letter vendor saw her information, much less that the transmission itself

threatened her with any real harm, whether it be harm to her reputation, or otherwise. The

question, therefore, is whether Congress’s prohibiting such a transmission furthers the goal

of protecting a consumer’s reputation—it does not—and, even if it furthers this goal,

whether the restriction goes farther than is reasonably necessary—it obviously does.

       Simply put, if Congress’s goal is protecting a consumer’s reputation, outright

banning the use of service providers, like letter vendors, goes much too far.

                                               28
Case 2:22-cv-02152-KM-CLW Document 6 Filed 05/09/22 Page 29 of 29 PageID: 130




                                    III. CONCLUSION

       Plaintiff’s theory that RGS violated the law by using a letter vendor fails as a matter

of statutory construction, and the Court should grant this Motion and dismiss Plaintiff’s

Complaint.

Dated: May 9, 2022                         Respectfully submitted,

                                           /s/ Aaron R. Easley
                                           Aaron R. Easley, Esq.
                                           SESSIONS, ISRAEL & SHARTLE, LLC
                                           3 Cross Creek Drive
                                           Flemington, NJ 08822-4938
                                           Tel.: (908) 237-1660
                                           Fax: (877) 334-0661
                                           Email: aeasley@sessions.legal
                                           Attorneys for Defendant,
                                           Radius Global Solutions, LLC

                             CERTIFICATE OF SERVICE

       I certify that on May 9, 2022, a copy of foregoing was filed electronically in the

ECF system. Notice of this filing will be sent to the parties of record by operation of the

Court’s electronic filing system.


                                                  /s/ Aaron R. Easley
                                                  Aaron R. Easley, Esq.




                                             29
